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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref. Nos. 2508, 2712, 2725 & 3311



         NOTICE OF DEBTORS’ AND THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS’ EXHIBIT LIST AND INTENT TO OFFER
       WITNESS TESTIMONY AT THE HEARING ON OCTOBER 24, 2023 IN
    CONNECTION WITH THE SECOND JOINT MOTION OF THE DEBTORS AND
       THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR AN
      ORDER AUTHORIZING THE MOVANTS TO REDACT OR WITHHOLD
          CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS

         PLEASE TAKE NOTICE that FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession (collectively, the “Debtors”) and the Official Committee of Unsecured Creditors

(the “Committee” and, together with the Debtors, the “Movants”) appointed in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”) hereby provide the following information

regarding the witness they intend to present, and the list of the potential exhibits that they may

seek to introduce, at the hearing scheduled on October 24, 2023 (the “Hearing”) on the Second

Joint Motion of the Debtors and the Official Committee of Unsecured Creditors for an Order

Authorizing the Movants to Redact or Withhold Certain Confidential Information of Customers

[D.I. 2508] (the “Joint Motion”):




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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                                             EXHIBITS

         In connection with the Hearing on the Joint Motion, the Movants may seek to use any

one or more of the following documents:

Ex. # Description

     1. Transcript of January 11, 2023 Hearing

     2. Transcript of June 8, 2023 Hearing

     3. Any rebuttal or impeachment exhibits

                                  INFORMATION ON WITNESS

         1. Name and title of witness: Kevin M. Cofsky, Partner at Perella Weinberg Partners
            L.P., the Debtors’ investment banker.

         2. Scope of testimony: Mr. Cofsky will testify regarding the potential value of the
            Debtors’ customer lists and related matters in connection with the Joint Motion.

         3. Direct testimony of witness: The Movants will elicit direct and/or rebuttal testimony
            from Mr. Cofsky at the Hearing.

         4. Location and place from which the witness will testify: Mr. Cofsky will be available
            to testify in person.


                                  RESERVATION OF RIGHTS

         The Movants reserve all rights to: (i) amend and supplement this exhibit and witness list

at any time at or prior to the Hearing; (ii) use additional exhibits for purposes of rebuttal or

impeachment and to supplement the foregoing exhibit list as appropriate; (iii) rely upon and use

as evidence (a) any exhibits included on the exhibit lists of any other party in interest and (b) any

pleading, hearing transcript, order, or other document filed with the Court in these Chapter 11

Cases or any adversary proceeding; (iv) cross examine any and all witnesses proffered at the

Hearing; and (v) call any rebuttal witnesses as the Movants may deem necessary at the Hearing.




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